Case 20-62473-pmb         Doc 23    Filed 04/20/20 Entered 04/20/20 18:06:00            Desc Main
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                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF GEORGIA
                                   ATLANTA DIVISION

IN RE:                                        )      CHAPTER 7
                                              )
ASCENSION AIR MANAGEMENT,                     )      CASE NO. 20-62473-PMB
INC.                                          )
                                              )
         Debtor.                              )
                                              )

                NOTICE OF APPEARANCE AND REQUEST FOR NOTICES

         COMES NOW, Louis G. McBryan of McBRYAN, LLC, who files this Notice of

Appearance and Request for Notice as Counsel and on behalf of CLBD Real Estate Holdings,

LLC, a creditor and party-in-interest in the above-styled case and hereby requests receipt of all

actions entered in this case.

         This 20th day of April 2020.

                                              Respectfully submitted,

                                              McBRYAN, LLC

                                              /s/Louis G. McBryan
                                              Louis G. McBryan, Georgia Bar No. 480993
                                              6849 Peachtree Dunwoody Road
                                              Building B-3, Suite 100
                                              Atlanta, Georgia 30328
                                              Tel (678)733-9322
                                              Fax (678) 498-2709
                                              lmcbryan@mcbryanlaw.com
                                              Attorneys for CLBD Real Estate Holdings, LLC
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IN RE:                                         )      CHAPTER 7
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ASCENSION AIR MANAGEMENT,                      )      CASE NO. 20-62473-PMB
INC.                                           )
                                               )
         Debtor.                               )
                                               )

                                  CERTIFICATE OF SERVICE

         This is to certify that I have electronically file the foregoing Notice of Appearance and

Request for Notices with the Clerk of Court using the CM/ECF system which will send

electronic notification to all users who have consented to such service.


         This 20th day of April 2020.

                                               Respectfully submitted,

                                               McBRYAN, LLC

                                               /s/Louis G. McBryan
                                               Louis G. McBryan, Georgia Bar No. 480993
